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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

 LARRY TIFFANY

        Plaintiff,
 v.                                                CASE NO.: 8:17-cv-02430-JSM-TGW

 AMERICAN HOMEPATIENT, INC. d/b/a
 AMERICAN HOME PATIENT

        Defendant.
                                              /

                           NOTICE OF PENDING SETTLEMENT
       PLAINTIFF, LARRY TIFFANY, by and through his undersigned counsel, hereby
submits this Notice of Pending Settlement and states that Plaintiff, LARRY TIFFANY, and
Defendant, AMERICAN HOMEPATIENT, INC., d/b/a AMERICAN HOME PATIENT, have
reached a settlement with regard to this case and are presently drafting, finalizing, and executing
the settlement and dismissal documents. Upon execution of same, the parties will file the
appropriate dismissal documents with the Court.

                                CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that, on this 7th day of June, 2018, a true and correct copy of the
foregoing was filed with the Clerk of the Court and served on the parties of record using the
CM/ECF system.
                                      Respectfully submitted,
                                             /s/Heather H. Jones
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                                             Florida Bar No. 0118974
                                             William “Billy” Peerce Howard, Esq.
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